Travis Eiva, OSB No. 052440
travis@zempereiva.com
Zemper Eiva Law LLC
101 East Broadway, Ste. 303
Eugene, OR 97401
Telephone: (541)-636-7480
Facsimile: (458) 205-8658

of Attorneys for Plaintiff

                    IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
 TRAVIS BATTEN,
                                               Case No. 3:19-cv-01200-MC
                         Plaintiff,            Consolidated with:
                                               Case No. 1:18-cv-00676-MC
 vs.
                                               DECLARATION OF TRAVIS EIVA IN
                                               SUPPORT OF PLAINTIFF’S MOTION
 STATE FARM MUTUAL                             FOR PARTIAL SUMMARY
 AUTOMOBILE INSURANCE                          JUDGMENT
 COMPANY,

                        Defendant.


       I, Travis Eiva, do hereby state as follows:

       1.     I make this Declaration in support of Plaintiff’s Motion for Partial Summary

Judgment.

       2.     Attached as Exhibit 1 to this Declaration is a true and correct copy of the

Declarations Page for State Farm Policy No. 110 5075-C11-37A issued to Travis R. Batten,

that was in full force and effect on October 31, 2017 (the day of the subject collision).




Page | 1 DECLARATION OF TRAVIS EIVA IN SUPPORT OF PLAINTIFF’S MOTION FOR
PARTIAL SUMMARY JUDGMENT
       3.     Attached as Exhibit 2 to this Declaration is a true and correct copy of the

Declarations Page for State Farm Policy No. 065 0652-F10-37C issued to Travis R. Batten,

that was in full force and effect on October 31, 2017.

       4.     Attached as Exhibit 3 to this Declaration is a true and correct copy of the

Declarations Page for State Farm Policy No. 274 2245-A12-37E issued to Travis R. Batten,

that was in full force and effect on October 31, 2017.

I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF
MY KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR
USE AS EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY.

DATE: January 31, 2020.

                                              ZEMPER EIVA LAW LLC


                                              /s/Travis Eiva
                                              Travis Eiva, OSB No. 052440




Page | 2 DECLARATION OF TRAVIS EIVA IN SUPPORT OF PLAINTIFF’S MOTION FOR
PARTIAL SUMMARY JUDGMENT
               state Farm Mutual Automobile Insurance Company                                      65610-1-A                                MUTL VOL
               PO Box 5000
               DuPont, WA 98327-5000
                                                                                                              DECLARATIONS PAGE
                      NAMED INSURED
             AT2                                              37-2134-1 A                       POLICY NUMBER                 110 5075-G11-37A
                                           000770   OOM
             BATTEN, TRAVIS R
                                                                                                POLICY PERIOD OCT 06 2017 to MAR 11 2018
                                                                                                     12:01 A.M. Standard Time
               405 CREEL RD
             TALENT OR               97540-9622
                                                                                                   STATE FARM PAYMENT PLAN NUMBER
                                                                                                    0195078015
                                                                                                  AGENT
                                                                                                  RORY WOLD INSURANCE AGENCY INC
                                                                                                  2019 AERO WAY STE 101
                                                                                                   MEDFORD,OR 97504-9789



                                                                                                  PHONE:(541)773-1404 or (541)773-1423
    DO NOT PAY PREMIUMS SHOWN ON THIS PAGE.
    IF AN AMOUNT IS DUE,THEN A SEPARATE STATEMENT IS ENCLOSE D.
                                                                    YOUR CAR
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          r>W'.

      1985               TOYOTA                       XTRA CAB        PICKUP               JT4RN66D3F5057813                          603H50M000




                                                                                                                                                                             i

                                  Liability Coverage



                                      Property Damage Limit




                                : ;1SfaYcfl uVt-

                                  Collision Coverage - $250 Deductible                                                            $28.94

                                                                                                                                  $37.52




                                    :^-:Totalpremlum f6r'OCT>06?2017lt6 MAR^1i:^20.18




Replaced policy number 1105075-37.
Your total renewal premium for SEP 11 2017 to MAR 11 2018 Is $229.84.

                                                                                                                                              3verage:det

YOUR POLICY CONSISTS OF THIS DECLARATIONS PAGE.                                THE POLICY BOOKLET -
FORM 9837B, AND ANY ENDORSEMENTS THAT APPLY, II^CLUDING THOSE ISSUED TO YOU
WITH ANY SUBSEQUENT RENEWAL NOTICE.
6091T                  CERTIFICATE OF GUARANTEED RENEWAL.
6128BL                 AMENDATORY ENDORSEMENT.
5937B.2                AMENDATORY ENDORSEMENT.




                                                                                            Agent:            RORY WOLD IINSURANCE AGENCY INC
                                                                                            Telephone: (541)773-1404

                                                                        EXHIBIT 1: Page     1 OCT
                                                                                              of 110 2017
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i5S-38ee.2 04-200S (oiaozsnd)
      I4SX0N      (O1a025IS}
               state Farm Mutual Automobile Insurance Company
               PO Box 5000
               DuPont, WA 98327-5000                                                                          DECLARATIONS PAGE

                     NAMED INSURED
             AT2                                                     37-2134-1 P                   POLICY NUMBER         065 0652-F10-37C
                                         OQiies   oasa
             BATTEN, TRAVIS R                                                                     POLICY PERIOD OCT 06 2017 to DEC 10 2017
             405 CREEL RD
                                                                                                         12:0l A.M. Standard Time
             TALENT OR  97540-9622
                                                                                                        STATE FARM PAYMENT PLAN NUMBER
                                                                                                        0195078015
                                                                                                    AGENT
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                                                                                                    RORY WOLD INSURANCE AGENCY INC
                                                                                                    2019 AERO WAY STE 101
                                                                                                        MEDFORD. OR 97504-9789



                                                                                                    PHONE;(541)773-1404 or (541)773-1423
    DO NOT PAY PREMIUMS SHOWN ON THIS PAGE.
    IF AN AMOUNT IS DUE,THEN A SEPARATE STATEMENT IS ENCLOSE D.
                                                                                 YOUR CAR



                        TOYOTA                       4 RUNNER                     SPORT WG      JT3HNB6R4\/0085719           603H50M000




                                  Liability Coverage

                                     Each Person, Each Accident

                                     Property Damage Limit

                                     $100,000

                                  (See Policy Schedule for Limits.)
                                 SBmtmjffltoBs^sayfiEBgsesa^ma                                                             mmsm
                                                                                                                           $20.59

                                   Uninsured Motor Vehicle Coverage                                                        $15.51
                                 SSaeMWUli/sii*ijVIt-y»MU UlwgajcoaaiRawScWHro
                                     Each Person, Each Accident


                                                                 KOCTmaoi^toi?




^                                                                                                ^ .V       . ■    ..                 I . .
Replaced policy number 0650652-378.
Your total renewal premium for JUN 10 2017 to DEC 10 2017 Is $297.32.



YOUR POLICY CONSISTS OF THIS DECLARATIONS PAGE. THE POLICY BOOKLET -
FORM 9837B, AND ANY ENDORSEMENTS THAT APPLY, II^CLUDING THOSE ISSUED TO YOU
WITH ANY SOBSEQUENT RENEWAL NOTICE.
6091T                 CERTIFICATE OF GUARANTEED RENEWAL.
6128BL                AMENDATORY ENDORSEMENT.
6937B.2               AMENDATORY ENDORSEMENT.




                                                                                                Agent:        RORY WOLD INSURANCE
                                                                                                                        1         AGENCY INC
                                                                                                Telephone: (541)773-1404

                                                                                  EXHIBIT 2: Page    1 of 1
                                                                        See Reverse Side      Prepared OCT 13 2017                  2134-AE6
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16S-38ee.2 04-2005 (Ol«025hil)
      I4SX0N     <eU0261»)
              state Farm Mutual Automobile Insurance Company
              PO Box 5000
               DuPont, WA 98327-5000                                                                         DECLARATIONS PAGE

                    NAMED INSURED
             AT2                                                      37-2134-1 A                  POLICY NUMBER      274 2245-A12-37E
                                          000771    006B
             BATTEN, TRAVIS R                                                                      POLICY PERIOD OCT 06 2017 to JAN 12 2018
                                                                                                      12:01 A.M. Standard Time
             405 CREEL RD
             TALENT       OR      97540-9622
                                                                                                     STATE FARM PAYMENT PLAN NUMBER
                                                                                                      0195078015
                                                                                                     AGENT
                                            ■||II|||1Im|II||||I|I|||]I|I||I|II|                      RORY WOLD INSURANCE AGENCY INC
                                                                                                     2019 AERO WAY STE 101
                                                                                                     MEDFORD,OR 97504-9789



                                                                                                     PHONE:(541)773-1404 or (541)773-1423
    DO NOT PAY PREMIUMS SHOWN ON THIS PAGE.
    IF AN AMOUNT IS DUE, THEN A SEPARATE STATEMENT IS ENCLOSE D.
                                                                                  YOUR CAR

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                                       ich Person. Each Accident




                                      Tbtal p'r'etfilumlfoFOCT.oe 20174o"dAN?12^2018Jt



[ilMPORtANTiM
Replaced policy number 2742245-37D.
Your total renewal premium for JUL 12 2017 to JAN 12 2018 Is $217.75.



YOUR POLICY CONSISTS OF THIS DECLARATIONS PAGE^ THE POLICY BOOKLET -
FORM 98378, AND ANY ENDORSEMENTS THAT APPLY, II^CLUDING THOSE ISSUED TO YOU
WITH ANY sOBSEQUENT RENEWAL NOTICE.
6091T                CERTIFICATE OF GUARANTEED RENEWAL.
6128BL               AMENDATORY ENDORSEMENT.
6937B.2              AMENDATORY ENDORSEMENT.




                                                                                                 Agent:    RORY WOLD INSURANCE
                                                                                                                     I         AGENCY INC

                                                                                                 Telephone: (541)773-1404

                                                                                    EXHIBIT 3: Page    1 of 1
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